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DEED OF TRUST
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[| If this box is checked, this Deed of Trust secures future advances.

 

 

 

THIS DEED OF TRUST is made this day 19TH of OCTOBER . 2006 _, among the Grantor(s),

IVY DESHANTA MALLOY, NOT STATED
whose

address is6824 SHOSHONE DR, OXON HILL, MD 20745
(herein "Borrower"), MORTGAGE TWO CORPORATION, A DELAWARE CORPORATION
(herein "Trustee”) and the Beneficiary HOUSEHOLD FINANCE CORPORATION | 11

a corporation organized and existing under the laws of DELAWARE whose address is
7OB9 ALLENTOWN ROAD, WOOQDBERRY SQ SHOPPING CTR, TEMPLE HILLS, MD 20748
(herein “Lender"), Witnesseth:

The following paragraph preceded by a checked box is applicable.

WHEREAS, Borrower is indebted to Lender in the principal sum of $ 229,262.55 ‘

wei need by Borrower's Loan Agreement dated OCTOBER 19, 2005 any extensions or
j—Srenewals thereof (including those pursuant to any Renegotiable Rate Agreement) (herein "Note"),
viding for monthly installments of principal and interest, including any adjustments to the amount

 

  
  

 

 

 

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cho payments or the contract rate if that rate is variable, with the balance of the indebtedness, if not
Ssooner paid, due and payableon OCTOBER 19, 2036 ; a ug
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= [|__|wiereas, Borrower is indebted to Lender in the principal sum of $ TAL OF B04 Ae. 88
muc ereof as may be advanced pursuant to Borrower's Revolving Loan -aBreete f a
and extensions and renewals thereof (herein "No}g HOyidin: Bes
monthly installments, and interest at the rate and under the terms specified in the Note ding any 2
adjustments in the interest rate if that rate is variable,and providing for a
eredit limit stated in the principal sum above and an initial advance of $ :
TO SECURE to Lender the repayment of the indebtedness, including future advances,
evidenced by the Note, with interest thereon at the applicable contract rate (including any adjustments to
the amount of payment or the contract rate if that rate is variable) and other charges; the payment of all
other sums, with interest thereon, advance in accordance herewith to protect the security of this Deed of
Trust; and the performance of the convenants and agreements of Borrower herein contained, Borrower,
in consideration of the indebtedness herein recited and the trust herein created, irrevocably grants and
conveys to Trustee, in trust with power of sale, the following described property located in the County
of PRINCE GEORGE'S State of Maryland:
ALL THAT CERTAIN PROPERTY SITUATED IN THE COUNTY OF PRINCE
GEORGE'S AND STATE OF MARYLAND, BEING MORE FULLY DESCRIBED IMP FU SURE $ 2,08
PECORTING FEE 28,08
CONTINUED ON EXHIBIT A-LEGAL DESCRIPTION #E 3nd3 TOTAL 48 AG
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which has the address of 8824 SHOSHONE DR, OXON HILL
(Street) (Borrower's Post Office Address, If differenth (city)
Maryland_20745 (herein "Pro xerty Address");
(Zip Code)
moo10051

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TOGETHER with all the improvements now or hereafter erected on the property, arid all easements,
rights, appurtenances, rents (subject however ‘to the, rights and authorities given herein to Lender to
collect and apply such rents), royalties, mineral, oil and gas rights and profits, water, water rights, and
water stock, and all fixtures now or. ;hepeaftgrjqttached to the property, all of which, including
replacements and additions thereto, shall bp obeyed to be and remain a part of the property covered by
thie Deed of Trust; and all of the foregoing, Together with said property (or the leasehold estate if this
Deed of Trust is on a leasehold) are hereinafter referred to as the "Property."

Borrower covenants that Borrower is lawfully seised of the estate hereby conveyed and has the right
to grant and convey the Property, and that the Property is unencumbered, except for encumbrances of
record, Borrower covenants that Borrower warrants and will defend generally the title to the Property
against all claims and demands, subject to encumbrances of record.

COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest (including any variations in interest resulting
from changes in the contract rate that may be specified in the Note) on, the debt evidenced by the Note
and any prepayment charges and late charges due under the Note. Borrower shall also pay funds for
Escrow Items pursuant to Section 18. Payments due under the Note and this Security Instrument shall
be made in U.S. currency. However, if any check or other instrument received by Lender as payment
under the Note or this Security Instrument is returned to Lender unpaid, Lender may require that any
or all subsequent payments due under the Note and this Security Instrument be made in one or more of
the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier’s check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender. Lender may return any payment or partial
payment if the payment or partial payments are insufficient to bring the loan current. Lender may
accept any payment or partial payment insufficient to bring the loan current, without waiver of any
rights hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but
Lender is not obligated to apply such payments at the time such payments are accepted. If each
periodic payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds, Lender may hold such unapplied funds until] Borrower makes payment to bring the loan
current. If Borrower does not do so within a reasonable period of time, Lender shall either apply such
funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure, No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due
under the Note and this Security Instrument or performing the covenants and agreements secured by
this Security Instrument.

2. Charges; Liens. Borrower shall pay all taxes, assessments and other charges, fines and
impositions attributable to the Property which may attain a priority over this Deed of Trust, and
leasehold payments or ground rents, if any. Borrower shall promptly discharge any lien when due which
has priority over this Deed of Trust. If Borrower fails to pay such lien when due, lender may pay or
purchase the same and collect all such advances out of any sale of the secured property hereunder.

3. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured as provided in note,

All insurance policies and renewals thereof shall be in form acceptable to Lender and shall include a
standard mortgage clause in favor of and in form acceptable to Lender,

Unless Lender and Borrower otherwise agree in writing, insurance proceeds shall be applied to
restoration or repair of the Property damaged, provided such restoration or repair is economically
feasible and the security of this Deed of Trust is not thereby impaired. If such restoration or repair is
not economically feasible or if the security of this Deed of Trust would be impaired, the insurance
proceeds shall be applied to the sums secured by this Deed of Trust, with the excess, if any, paid to
Borrower.

4. Preservation and Maintenance of Property; Leasehoids. Borrower shall keep the Property in
good repair and shall not commit waste or permit impairment or deterioration of the Property and
shall comply with the provisions of any lease if this Deed of Trust is on a leasehold.

§. Protection of Lender’s Security. If Borrower fails to perform the covenants and agreements
contained in this Deed of Trust, or if any action or proceeding is commenced which materially affects
Lender’s interest in the Property, including, but not limited to, eminent domain, insolvency, code
enforcement, or arrangements or proceedings involving a bankrupt or decedent, then Lender at
Lender's option, upon notice to Borrower, may make such appearances, disburse such sums and take
such action as is necessary to protect Lender's interest, including, but not limited to, disbursement of
reasonable attorney's fees and entry upon the Property to make repairs.

6. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in
connection with any condemnation or other taking of the Property, or part thereof, or for conveyance
in lieu of condemnation, are hereby assigned and shall be paid to Lender.

In the event of a total taking of the Property, the proceeds shall be applied to the sums secured by
this Deed of Trust, with the excess, if any, paid to Borrower. In the event of a partial taking of the
Property, unless Borrower and Lender otherwise agree in writing, there shall be applied to the sums
secured by this Deed of Trust such proportion of the proceeds as is equal to that proportion which the

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18. Funds for Escrow Items. Borrower shall pay to Lender on the day periodic payments are due
under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts
due for: (a) taxes and assessments and other items which can attain priority over this Security Instrument
as a lien or encumbrance on the Property; (b}) leasehold payments or ground rents on the Property, if any;
(c) premiums for any and all insurance required by Lender under Section 3; and (d) Mortgage Insurance
premiums, if any. These items are called "Escrow Iterns,” At origination or at any time during the term
of the loan, Lender may require that community association dues, fees, and assessments, if any, be
escrowed by Borrower, and such dues, fees and assessments shal] be an Escrow Item. Borrower shall
promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall pay
Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds for any
or all Escrow Items, Lender may waive Borrower's obligation to pay to Lender Funds for any or all
Escrow Items at any time. Any such waiver may only be in writing. In the event of such waiver,
Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items for which
payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts
evidencing such payment within such time period as Lender may require. Borrower’s obligation to
make such payments and to provide receipts shall for all purposes be deemed to be a covenant and
agreement contained in this Security Instrument, as the phrase "covenant and agreement” is used in
Section 5. If Borrower is obligated to pay Escrow [tems directly, pursuant to a waiver, and Borrower
fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 5 and pay
such amount and Borrower shall then be obligated under Section 5 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow Items at any time by written notice and, upon
such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then required
under this Section 18,

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under the Real Estate Settlement Procedures Act (12 U.S.C, Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.P.R. Part 35000), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As
used in this security instrument, "RESPA" refers to all requirements and restrictions that are imposed in
regard to a "federally related mortgage loan” even if the loan does not qualify as a “federally related
mortgage loan” under RESPA. Lender shall estimate the amount of Funds due on the basis of current
data and reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with
applicable law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or
in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the
time specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds,
annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower
interest on the Funds and applicable law permits Lender to make such a charge. Unless an agreement is
made in writing or applicable law requires interest to be paid on the Funds, Lender shall not be required
to pay Borrower any interest or earnings on the Funds, Borrower and Lender can agree in writing,
however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
arinual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender
shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to
make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

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amount of the sums secured by this Deed of Trust immediately prior to the date of taking bears to
the fair market value of the Property immediately prior to the date of taking, with the balance of the
proceeds paid to Borrower.

7. Forbearance by Lender Not a Waiver. Any forbearance by Lender in exercising any right or
remedy hereunder or under note, or otherwise afforded by applicable law, shall not be a waiver of or
preclude the exercise of any such right or remedy. The procurement of insurance or the payment of
taxes or other liens or charges by Lender shall not be a waiver of Lender's right to accelerate the
maturity of the indebtedness secured by this Deed of Trust.

8. Remedies Cumulative. All remedies provided in this Deed of Trust are distinct and
cumulative to any other right or remedy under this Deed of Trust or afforded by law or equity, and
may be exercised concurrently, independently or successively.

9. Successors and Assigns Bound; Joint and Several Liability; Captions. The covenants and
apreements herein contained shall bind, and the right hereunder shall inure to, the respective
successors and assigns of Lender and Borrower, subject to the provisions of paragraph 10 hereof. All
covenants and agreements of Borrower shall be joint and several, The captions and headings of the
paragraphs of this Deed of Trust are for convenience only and are not to be used to interpret or define
the previsions hereof.

10. Transfer of the Property; Assumption. If all or any part of the Property or an interest
therein is sold or transferred by Borrower without Lender’s prior written consent, excluding (a) the
creation of a lien or encumbrance subordinate to this Deed of Trust, (b) the creation of a purchase
money security interest for household appliances, (c) a transfer by devise, descent or by operation of
law upon the death of a joint tenant or (d) the grant of any leasehold interest of three years or less not
containing an option to purchase, Lender may, at Lender’s option, declare all the sums secured by this
Deed of Trust to be immediately due and payable.

11, Acceleration; Remedies. Upon Borrower's breach of any covenant or agreement of Borrower
in the note, Lender at Lender’s option may declare all of the sums secured by this Deed of Trust to be
immediately due and payable without further demand and may invoke the power of sale and any other
remedies permitted by applicable law.

Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided herein,
including but not limited to, reasonable attorneys’ fees and costs of title evidence.

12. Assignment of Rents; Appointment of Receiver. As additional security hereunder,
Borrower hereby assigns to Lender the rents of the Property, provided that Borrower shall, prior to
acceleration hereof or abandonment of the Property, have the right to collect and retain such rents as
they become due and payable.

Upon acceleration as provided herein or abandonment of the Property, Lender shall be entitled to
have a receiver appointed by a court to enter upon, take possession of and manage the Property and to
collect the rents of the Property, including those past due. The receiver shall be liable to account only
for those rents actually received.

13. Release. Upon payment of all sums secured by this Deed of Trust, Lender or Trustee shall
release this Deed of Trust.

14, Substitute Trustee, Lender at Lender’s option may from time to time remove Trustee and
appoint a successor trustee to any Trustee appointed hereunder by an instrument recorded in the city
or county in which this Deed of Trust is recorded, Without conveyance of the Property, the successor
trustee shall succeed to all the title, power and duties conferred upon the Trustee herein and by
applicable law.

15, Arbitration Rider to Note. The A rbitration Rider attached to and made a part of the
Note/Loan Agreement is hereby incorporated by reference and made a part of the Deed of Trust.

16. Adjustable Rate Rider to Deed of Trust. The Adjustable Rate Rider attached to and made a
part of the Deed of Trust is hereby incorporated by reference and made a part of the Deed of Trust.

17. Application of Payments or Proceeds. Except as otherwise described in this Section 17 or
as may be required ty the Note and/or applicable law, all payments accepted and applied by Lender
shall be applied in the following order of priority: (a) interest due under the Note; (b) principal due
under the note; (c} ariounts due under Section 18. Such payments shall be applied to each periodic
payment in the order in which it became due, Any remaining amounts shall be applied first to late
charges, second to any other amounts due under this Security Instrument, and then to reduce the
principal balance of th » Note.

If Lender receives .. payment from Borrower for a delinquent periodic payment which includes a
sufficient amount to yay any late charge due, the payment may be applied to the delinquent payment
and the late charge. f more than one periodic payment is outstanding, Lender may apply any
payment received fror. Borrower to the repayment of the periodic payments if, and to the extent that,
each payment can be aid in full. To the extent that any excess exists after the payment is applied to
the full payment of o..e or more periodic payments, such excess may be applied to any late charges
due. Voluntary prepayments shall be applied first to any prepayment charges and then as described in
the Note.

Any application of »ayments, insurance proceeds, or miscellaneous proceeds to principal due under
the Note shall not exte d or postpone the due date, or change the amount, of the periodic payments.

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Borrowers each waive all exemption rights under state and federal law.
IN WITNESS._WHEREOF, Borrower has executed this Deed of Trust.

 

 

 

 

 

(Seal)
Deshanta Malloy 5orrow ~ Borrower
(Seal) (Seal)
- Borrower - Borrower
STATE OF MARYLAND, Prince George's County ss:
I Hereby Certify, That on this 19th day of October 99 06 ,

 

before me, the subscriber, a Notary Public of the State of Maryland, in and for theCounty of Prince
George's, personally appeared Ivy Deshanta Malloy . ,

 

 

known to me or satisfactorily proven to be the person(s) whose name(s) is subscribed
to the within instrument and acknowledge that 5 he executed the same for the purposes therein
contained,

AS WITNESS: my hand and notarial seal.

 

 

 

 

My Commission expires: /2/14/0" Cs =
) C Gn Public
STATE OF MARYLAND, Prince George's County ss:
I Hereby Certify, That on this 19th day of October , 20 06 , before
me, the subscriber, a Notary Public of the State of Maryland and for the
County of Prince George's z personally
appeared Stoney Morris , the agent of the party

 

secured by the foregoing Deed of Trust, and made oath in due form of law that the consideration
recited in said Deed of Trust is true and bona fide as therein set forth; and also made oath that he/she
is the agent of the party or parties secured and is duly authorized to make this affidavit.

AS WITNESS: my hand and notarial seal. K<an.__
My Commission expires: iy (7/Ob Le

) Ni ary Peblic

This is to certify that the within instrument was prepared by Hpusehold Finance Corporation III of
Maryland one of the parties to the instrument.

   

Employee Signature

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EXHIBIT A (PAGE 1)

IN A DEED DATED 12/28/2000 AND RECORDED 01/10/2001, AMONG
THE LAND RECORDS OF THE COUNTY AND STATE SET FORTH ABOVE, IN
DEED VOLUME 14306 ANO PAGE 273. TAX MAP OR PARCEL ID NO.:

XX-XXXXXXX
LOT NUMBERED NINETEEN(19) IN BLOCK NUMBERED TEN(10) IN THE

SUBDIVISION KNOWN AS SECTION 9, FOREST HEIGHTS, AS PER PLAT -
RECORDED IN PLAT BOOK WWW 24, PLAT NO. 78, AMONG THE LAND RECORDS

OF PRINCE GEORGES COUNTY, MARYLAND,

 
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REFINANCE STATEMENT: This is the principal residence of Ivy Deshanta Malloy

They are the original mortgagors of a mortgage recorded in _Libor/Folio : 24841/168

The original Deed of Trust is being extinguished with an unpaid principal balance of $ 170,388.69

This is a refinancing of the Deed of Trust, in the sum of $229,262.55 _ and the difference being $28,873.86 _.

IN WITNESS WHEREOF, Borrower has executed this Deed of Trust.

 

 

 

 

 

 

 

 

 

 

Borrower: Vested Owner:

Borrower: Vested Owner:

Borrower: Vested Owner:

Borrower: Vested Owner:

STATE OF MARYLAND, __ Prince George's County ss:

| Hereby Certify, That on this 19th gay of October » 20.06 . before me, the subscriber,
a Notary Public of the State of Maryland, in and forthe County of Prince George's » personally
appeared_ Ivy Deshanta Malloy

 

 

known to me or satisfactorily proven to be the person(s) whose name(s)__is = subscribed to the within
instrument and acknowledge that ___s_ he executed the same for the purposes therein contained.

AS WITNESS: my hand and notarial seal. wan
My Commission expires: (24 19) 46 65
Notark Publ

| Hereby Certify, That on this_ 19th day of _October , 2006 » before me, the
subscriber, a Notary Public of the Stateof Maryland and forthe County of Prince George's

» personally appeared Stoney Morris

» the agent of the party secured by the foregoing Deed of Trust, and
make oath in due form of law that the consideration recited in said Deed of Trust is true and bona fide as therein set forth;
and also made oath that he/she is the agent of the party or parties secured and is duly authorized to make this affidavit.

AS WITNESS: my hand and notarial seal. KA
My Commission expires: | 2/ (4) OL 5

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STATE OF MARYLAND, Prince George's County ss:

 

 

 
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ADJUSTABLE RATE RIDER
(LIBOR Index - Rate Caps)

THIS ADJUSTABLE RATE RIDER is made this 19" day of October, 2006, and is incorporated into
and shail be deemed to amend and supplement the Mortgage, Deed of Trust, or Deed to Secure Debt
{the “Security Instrument”) of the same date given by the undersigned (the "Borrower”) to secure
Bortower's Note to HOUSEHOLD FINANCE CORPORATION III {the "Lendes”) of the same date and
covering the property described in the Security Instrument and located at:

5824 SHOSHONE DR
OXON HILL, MD 20745

[Property Address]
THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE

AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY ONE TIME
AND THE MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS

In addition to the covenants and agreements made in the Security Instrument, Borrower and Lender
further covenant and agree as follows:

A. INTEREST RATE AND MONTHLY PAYMENT CHANGES

The Note provides for an initial interest rate of 8.650%. The Note provides for changes in the
interest rate and the monthly payments, as follows:

4, INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates

The interest rate | will pay may change on the 19 day of October, 2008, and on that day
every six months thereafter. Each date on which my interest rate could change is called a
"Change Date."

{B) The Index
Beginning with the first Change Date, my interest rate will be based on an index. The "Index"
is the London Interbank Offered Rate (LIBOR), which is the average of interbank offered rates

for six-month U.S. dollar-denominated deposits in the London market, as published in The
Wall Street Journal. The most recent Index figure available as of the date 45 days before

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ADJUSTABLE RATE RIDER
({LIBOR Index - Rate Caps)

each Change Date is called the “Current Index." However, where the LIBOR Index is
published in 1/64ths or any other increment requiring additional decimal places, the Note
Holder will only use five decimal places, For example, if the Index rate published was
8.123456%, the Note Holder would use 8.12345% as the Current Index for that Change Date.

If the Index is no longer available, the Note Holder will choose a new index which is based
upon comparable information. The Note Holder will give you notice of this choice.

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by adding
3.190% to the Current Index. The Note Holder will then round the result of this addition to the
nearest 0.125%. Subject to the limits stated in Section 4(D) below, this rounded amount will be
my new interest rate until the next Change Date.

The Note Holder will then determine the amount of the monthly payment that would be
sufficient to repay the unpaid principal that | am expected to owe at the Change Date in full on
the maturity date at my new interest rate in substantially equal payments. The result of this
calculation will be the new amount of my monthly payment.

(D) Limits on Interest Rate Changes

The interest rate | am required to pay at the first Change Date will not be greater than
11.650% or less than 8.150%. Thereafter, my interest rate will never be increased or
decreased on any single Change Date by more than 1.000% from the rate of interest | have
been paying for the preceding 24 months. My interest rate will never be greater than 14.650%.,
My interest rate will never be lower than 8.150%.

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. | will pay the amount of my
new monthly payment beginning on the first monthly payment date after the Change Date until
the amount of my monthly payment changes again.

(F) Notice of Changes

The Note Holder will deliver or mail to me a notice of any changes in my interest rate and the
amount of my monthly payment before the effective date of any change. The notice will
include information required by law to be given to me and also the title and telephone number
of a person who will answer any question | may have regarding the notice.

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ADJUSTABLE RATE RIDER
(LIBOR Index - Rate Caps)

B. TRANSFER OF THE PROPERTY OF A BENEFICIAL INTEREST IN BORROWER
Uniform Covenant 18 of the Security Instrument is amended to read as follows:
Transfer of the Property of a Beneficial Interest in Borrower

As used in this Section 18, "Interest in the Property” means any legal or beneficial interest in the
Property, including, but not limited to, those beneficial interests transferred in a bond for deed,
contract for deed, installment sales contract or escrow agreement, the intent of which is the
transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Jnterest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's
prior written consent, Lender may require immediate payment in full of all sums secured by this
Security Instrument. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law. Lender also shall not exercise this option if: (a) Borrower causes to
be submitted to Lender information required by Lender to evaluate the intended transferee as if a
new loan were being made to the transferee; and {b) Lender reasonably determines that Lender's
security will not be impaired by the loan assumption and that the risk of a breach of any covenant
or agreement in this Security Instrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable fee as a condition to
Lender's consent to the loan assumption. Lender may also require the transferee to sign an
assumption agreement that is acceptable to Lender and that obligates the transferee to keep all
the promises and agreements made in the Note and in this Security Instrument. Borrower will
continue to be obligated under the Note and this Security Instrument unless Lender releases
Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender shall give Borrower
notice of acceleration. The notice shall provide a period of not less than 30 days from the date the
notice is given in accordance with Section 15 within which Borrower must pay all sums secured by
this Security Instrument. |f Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or
demand on Borrower.

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.. 28884 013
ADJUSTABLE RATE RIDER

(LIBOR Index - Rate Caps)

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Adjustable Rate Rider.

Borrower LL, b : Doble Date: 7o-/ G-a6
IVY D. (MALLOY / CO

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a 4

State of Maryland d Ins ent Intake Sheet
Q Baltimore City County: Heunee —Sicncgy, —_
Information provided is for the use of the Clerk's Office, State of

Assessments and Taxation, and County Finance Office Only.)
(Type or Print in Black Ink Only—All Copies Must Be legit)

  

 

Type(s)
of Instruments

 
    
  
    
     
 
 

    

    
  
 
 
 

     
   
    
 

Deed Mortgage Other

Lease
Unimproved Sale
2}

or Trust
Improved Sale

    
   

Not an Arms-
Sale

     
     

Multiple Accounts
Bj

  
  

T
Check Box

Tax Exemptions
(if Applicable)

1

    
    

 
       
    
 

  

Consideration
New
and Tax Balance of
Calculations

  

Other:

  
  
 
 

Other:

Full Cash Value:

  
 
 

  

State Recordation Tax
State Transfer Tax
Ti Tax

          
 

Description of
Property
SDAT requires
submission of all
applicable information.
A maximum of 40
characters will be
indexed in accordance
with the priority cited
Real Property Article
Section 3-104(g)(3)(i). FF Farial

 
 
 
 
 
 
 
  
  
 
   
 
 
  

Transferred
From

 
 
 

Transferred
To

 
   
     
 

Other Names
to Be Indexed

 
 
   
 

   

Retum to Contact Person

  
  
 
 

    
 

Contact/Mail
Information

Name:
Firm

  
 
   

C) Hold for Pickup

    
 

    

     

Phone: a4 Return Address Provided

    
 
  
   

Will the property being conveyed be the grantee’s principal residence?
Does transfer include personal property? If yes, identify:

   

   
 

Assessment
Information

  
 

   

       

Was lf attach of

Oistribution: = White - Clark's Office
Canary - SOAT
Pink - Office of Finance
Goldenrod « Preparer
AOC-CE-300 (6/95)
‘Case 19-14130 Doc11-5 Filed TG 888

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